Case 2:14-cv-00287-RWS-CMC Document 326 Filed 01/10/22 Page 1 of 1 PageID #: 40703




                             IN THE UNITED STATES DISTRICT COURT
                               OF THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION

       SYNQOR, INC.                                §
                                                   §
       v.                                          §       No. 2:14CV287-RWS-CMC
                                                   §
       VICOR CORPORATION                           §


                                 SECOND ORDER OF CONTINUANCE



   .          The above-referenced case was referred to the undersigned United States Magistrate Judge

       for pretrial purposes in accordance with 28 U.S.C. § 636.

              Due to the undersigned’s illness, the Court must reschedule the January 12, 2022 status

       conference for January 20, 2022, at 10:00 a.m. The Court apologizes for any inconvenience this

       Second Order of Continuance may cause. It is

              ORDERED that the status conference in the above case before the undersigned is

       RESCHEDULED for 10:00 a.m. on January 20, 2022, at the United States District Court, 500 N.

       Stateline, Fourth Floor Courtroom, Texarkana, Texas.

              SIGNED this 10th day of January, 2022.




                                                          ____________________________________
                                                          CAROLINE M. CRAVEN
                                                          UNITED STATES MAGISTRATE JUDGE
